         Case 2:15-cr-00235-TLN Document 232 Filed 12/22/16 Page 1 of 2


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 8                                      UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                                 No. 2:15-cr-00235-TLN

12                         Plaintiff,

13           v.                                                ORDER

14   DUMITRU MARTIN,

15                         Defendant.

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17           The Court is in receipt of Defendant Dumitru Martin’s request to seal documents pursuant

18   to Local Rule 141, submitted on December 19, 20161. Defendant has indicated that he has filed

19   this request to seal after having received a request from the Government pursuant to paragraph 10

20   of the Stipulation and Protective Order (the “Protective Order”) (ECF No 117.) The Government

21   separately filed “Government Request Pursuant to Sealing Order [sic] Dated August 2, 2016 for

22   the Defense to File Motions Under Seal” on December 2, 2016. (ECF No. 225.) In relevant part,

23   paragraph 10 of the Protective Order provides that “[i]f any party intends to file on the public

24   docket any of the items contained in discovery [covered by the Protective Order], that party shall

25   notify all other parties in advance to permit the other parties the opportunity to determine whether

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              The Court issued a Minute Order on December 13, 2016 (ECF No. 228) informing the parties that neither
27   party had made the necessary filings pursuant Local Rule 141(b) to seal the documents at issue. The parties were
     instructed to “file the appropriate documents in compliance with Local Rule 141 within 14 days” if they still wished
28   to have these documents sealed. (ECF No. 228.)
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       Case 2:15-cr-00235-TLN Document 232 Filed 12/22/16 Page 2 of 2


 1   they will request the documents to be filed under seal.” (ECF No. 117 at ¶ 10 (emphasis added).)

 2           As the parties clearly desire these documents to be sealed, they are instructed to file a

 3   request to seal, along with the appropriate documents, in compliance with Local Rule 141(b)

 4   within 14 days of this Order. As such, the request should include the statutory or other authority

 5   for sealing; the requested duration; the identity, by name or category, of persons to be permitted

 6   access to the documents; and if applicable, the basis for excluding any party from service. The

 7   documents for which sealing is requested should be paginated consecutively so that they may be

 8   identified without reference to their content, and the total number of submitted pages should be

 9   stated in the request.

10           As this is the second failed attempt to comply with Local Rule 141, the Court further notes

11   that Local Rule 141(a) provides that “[d]ocuments may be sealed only by written order of the

12   Court, upon the showing required by applicable law.” L.R. 141(a) (emphasis added). The Ninth

13   Circuit has made clear that an order denying access to documents filed in a criminal proceeding

14   “must satisfy both the procedural and substantive requirements of the first amendment.”

15   Oregonian Pub. Co. v. U.S. Dist. Court for the Dist. of Oregon, 920 F.2d 1462, 1466 (9th Cir.

16   1990). The Ninth Circuit has set forth “a two-part test to determine whether the procedural

17   prerequisites” have been satisfied. Id. If this test is satisfied, Ninth Circuit and Supreme Court

18   precedent make clear that the first amendment requires that three substantive requirements are

19   also satisfied. See id.; In re Copley Press, Inc., 518 F.3d 1022, 1028 (9th Cir. 2008).

20           IT IS SO ORDERED.

21   Dated: December 21, 2016

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24                                                         Troy L. Nunley
                                                           United States District Judge
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